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                IN THE UNITED STATES DISTRICT COURT

                   FOR THE DISTRICT OF MONTANA

                           BILLINGS DIVISION

 UNITED STATES OF AMERICA,                CR 19-58-BLG-SPW

                       Plaintiff,

          vs.                             ORDER

 ADAM CLARK YOUNG,

                       Defendant.



     Pending before the Court is a motion to quash the Writ of Habeas Corpus

(Ad Prosequendum) Adam Clark Young currently scheduled for June 25, 2019, at

9:00 a.m. (Doc. 17). For good cause shown,

     IT IS ORDERED that the Writ of Habeas Corpus (Ad Prosequendum) is

QUASHED.

DATED this 28th day of May, 2019.

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                                    TIMOTHY J. CAVAN
                                    United States Magistrate Judge



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